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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    PAULA DOW, et al.,                                 CASE NO. C20-1320-JCC
10                           Plaintiffs,                 MINUTE ORDER
11            v.

12    COUNTY OF SNOHOMISH, et al.,

13                           Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Plaintiffs’ unopposed motion to vacate entry of
18   default against Defendant Everett City Policy Department (Dkt. No. 20). Finding good cause,
19   Plaintiffs’ motion (Dkt No. 20) is GRANTED. The Clerk is DIRECTED to VACATE the entry
20   of default as to Everett City Police Department (Dkt. No. 19).
21          DATED this 16th day of October 2020.
22                                                         William M. McCool
                                                           Clerk of Court
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24                                                         s/Tomas Hernandez
                                                           Deputy Clerk
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